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                                            RECORD NO. 22-7054

                                                       In The
              United States Court of Appeals
                                          For The Fourth Circuit




                           UNITED STATES OF AMERICA,
                                                                                     Plaintiff – Appellee,

                                                            v.



                               ZACKARY ELLIS SANDERS,
                                                                                     Defendant – Appellant.



           ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF VIRGINIA
                            AT ALEXANDRIA

                                         BRIEF OF APPELLANT




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                               JURISDICTIONAL STATEMENT

              The district court had jurisdiction under 18 U.S.C. § 3231. This Court’s

        jurisdiction rests on 28 U.S.C. § 1291. The Criminal Judgment on Sanders’s

        conviction was entered April 1, 2022. JA58. The order granting the government’s

        motion for a preliminary order of forfeiture and denying Sanders’s Rule 41(g)

        motion for the return of seized property was entered on August 19, 2022. JA62.

        Sanders timely filed the instant appeal on September 1, 2022. JA62, JA236.

                STATEMENT OF THE ISSUES PRESENTED FOR REVIEW

              1.     Whether the district court erred in forfeiting Sanders’s electronic

        storage devices “in their entirety,” including the legally possessed, non-contraband

        files stored within those devices, pursuant to 18 U.S.C. § 2253(a)(1) which requires

        the forfeiture of any visual depiction, book, magazine, periodical, film, video tape

        or “other matter” which contains child pornography, and 18 U.S.C. § 2253(a)(3) as

        “property” used or intended to be used to commit or promote the commission of a

        child pornography offense?

              2.     Whether the district court erred in denying Sanders’s post-trial, Rule

        41(g) motion for the return of legally possessed, non-contraband electronic files that

        are stored within electronic storage devices that also separately contain visual

        depictions of child pornography, the seizure of which exceeded the scope of the

        warrant?


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              3.     Whether the district court’s preliminary order of forfeiture, forfeiting

        Sanders’s electronic storage devices “in their entirety” including legally possessed,

        non-contraband files stored within those devices, violated the Eighth Amendment

        requirement of proportionality in sentencing?

                                    STATEMENT OF THE CASE

              In August 2019, the Federal Bureau of Investigation (“FBI”) received a tip

        that an individual using a specific IP address had allegedly accessed a website that

        contained child pornographic materials during a one-second time frame in May

        2019. JA81.1 Upon further investigation, the FBI learned that the IP address,

        registered to a McLean, Virginia address, belonged to Sanders’s mother—a home in

        which both Sanders and his parents resided. JA81.

              Based on the tip, the FBI obtained a search warrant and conducted a search of

        Sanders’s residence on February 12, 2020. JA81. During the search, the FBI seized

        several iPads, iPhones, computers, and hard drives, including all of the devices listed

        in the government’s motion for a preliminary forfeiture order. JA80. A digital

        forensic examination of the seized devices revealed images and videos depicting




        1
          The basis of this tip, among other issues, is the subject of Sanders’s pending appeal
        in this Court in United States v. Sanders, No. 22-4242.

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        alleged child pornography along with graphic communications with a number of

        teens. JA82.2

              On June 24, 2020, the grand jury returned a twelve-count Indictment charging

        Sanders with various child pornography offenses. 3 JA64. On October 27, 2021,

        Sanders was convicted of all twelve counts following a seven-day jury trial. JA49,

        222. Sentencing was ultimately continued until April 1, 2022 for reasons unrelated

        to this appeal.

              On March 28, 2022, Sanders filed a motion seeking the return of non-

        contraband property pursuant to Fed. R. Crim. Pro. 41(g) and preemptively objecting

        to the entry of a preliminary order of forfeiture. JA70. Specifically, Sanders sought

        the return of his legally possessed, non-contraband, personal, professional and

        educational materials stored in the devices. JA71. Sanders offered to pay the costs

        of the data review and segregation process by having his privately retained forensic

        expert examine the electronic storage devices at a government facility, copy the non-

        contraband files onto an external hard drive, and submit them for FBI review — a


        2
          For purposes of this appeal, Sanders concedes that eight of the physical devices
        listed in the government’s motion for preliminary order of forfeiture are properly
        forfeitable in the event that his conviction is not overturned. JA82. The ninth device,
        G.Ex. 1B24, was not introduced at trial and the government did not prove that it
        contained contraband material. JA185-187.
        3
          The Indictment charged Sanders with five counts of production of child
        pornography (Counts 1-5); six counts of receipt of child pornography (Counts 6-11);
        and one count of possession of child pornography (Count 12). JA64.

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        procedure previously adopted by the parties during discovery—thereby eliminating

        the burden and cost to the government of segregating and copying the requested

        files. JA71.

              In support of his motion, Sanders argued that the government could not retain

        or forfeit property unrelated to criminal activity and must return property seized as

        evidence under Fed. R. Crim. Pro. 41(g) once the criminal proceeding had concluded

        unless it was contraband or otherwise subject to forfeiture. Sanders further argued

        that the requested files were in no way traceable to, or otherwise contributed to the

        counts of conviction and were not forfeitable because they lacked the requisite nexus

        to the offenses required by Fed. R. Crim. P. 32.2 and 18 U.S.C. § 2253(a). JA72.

        Sanders also argued that because the non-contraband files constituted separate

        property from the forfeitable storage devices in which they were stored, the non-

        contraband files must be returned. JA73-77.

              The next day, the government filed a Motion for Entry of a Preliminary Order

        of Forfeiture seeking to forfeit nine electronic devices and its Response in

        Opposition to Defendant’s Motion for Return of Property. JA80. The government

        argued that the nine electronic devices were forfeitable “in their entirety” for two

        reasons. First, the digital devices, including their contents, were all subject to

        forfeiture under 18 U.S.C. § 2253(a)(1) as “matter which contains a visual

        depiction” of illicit child pornography. JA86 (emphasis added). Second, the


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        government argued that the nine devices and their contents were subject to forfeiture

        under 18 U.S.C. § 2253(a)(3) as “property” that Sanders “used to commit the child

        pornography violations[.]” JA86.

                On April 1, 2022, the district court sentenced Sanders to a total of 216 months’

        imprisonment followed by lifetime terms of supervised release. JA58. The court

        also ordered Sanders to pay restitution of $6,000 and imposed a $60,000 special

        assessment pursuant to 18 U.S.C. § 3014 based on his future earnings ability. JA58.

        At the sentencing hearing, the court postponed ruling on the forfeiture of the nine

        devices and instructed the parties to file supplemental briefs addressing the issue.

        JA58.

                In his supplemental brief, Sanders reiterated his argument that the non-

        contraband computer files were separate property from the devices used to commit

        the crime and that there was no legal basis upon which to retain or forfeit the non-

        contraband files located within the devices. JA114. Sanders also distinguished two

        cases cited by the government, United States v. Noyes, 557 Fed. Appx. 125 (3d Cir.

        2014), a two-page unpublished opinion upholding the denial of the defendant’s Rule

        41(g) motion for the return of data on his seized electronic storage devices that had

        already been forfeited, largely on procedural grounds, and United States v. Wernick,

        673 Fed. Appx. 21 (2d Cir. 2016) (unpublished), where the Second Circuit expressly

        held that it need not decide whether defendants in some cases may retain interests in


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        data unconnected to criminal activity that is stored on a hard drive that was “used ...

        to commit or to promote the commission of [a child pornography] offense.” Id. at

        25-26. JA116-118.

              In turn, the government argued that both Noyes and Wernick, supported the

        proposition that when dealing with digital storage devices, “the whole device must

        be forfeited under 18 U.S.C. § 2253.” JA128. The government also argued that the

        separation of the requested non-contraband data from Sanders’s electronic devices

        would impose an “undue and unreasonable burden on limited government

        resources[.]” JA130.

              On April 29, 2022, a hearing was held on the parties’ respective motions.

        JA177.    During the hearing, Sanders reiterated his arguments that the non-

        contraband files stored within the digital devices were separate property, not

        forfeitable under 18 U.S.C. § 2253(a), and that all of the non-contraband files on the

        nine devices were returnable under Fed. R. Crim. P. 41(g). JA187-196; JA199-201.

        The district court summarily dismissed Sanders’s Rule 41 argument stressing that

        “[i]f there’s forfeiture, Rule 41 has no traction.” JA200.

              On August 19, 2022, the district court issued its order and accompanying

        memorandum opinion denying Sanders’s motion for the return of his non-

        contraband files and granting the government’s motion for a preliminary order of

        forfeiture. JA221, JA235. In denying Sanders’s motion, the district court ruled that


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        forfeiture of the nine devices, including all of their contents, was mandated by “the

        plain text of § 2253(a)[.]” JA231. More specifically, the court held that Sanders’s

        electronic devices were subject to forfeiture “in their entirety” under § 2253(a)(l)

        because they are “any ... other matter which contains any such visual depiction of

        child pornography.” JA227 (emphasis added). By “in their entirety,” the district

        court and the government meant the physical components of the devices, as well as

        all files stored in the devices.

               The court further interpreted the term “other matter” in § 2253(a)(l) as

        applying to the physical devices themselves and not to the individual files stored

        within the devices, stating that “§ 2253(a)(l) clearly requires forfeiture of the matter

        containing the visual depictions—i.e., the electronic storage devices.” JA227. The

        court further stated that:

               “nowhere does the statute provide that only some portion of the
               property containing child pornography should be subject to forfeiture.
               Nor does the statute provide that non-contraband material on the
               devices should be separated from contraband materials on the devices
               and returned to a defendant. Instead, the statute clearly requires
               forfeiture of ‘any ... matter which contains’ a visual depiction of child
               pornography, and thus requires the forfeiture not only of the visual
               depiction itself, but also the matter or device on which that visual
               depiction is stored. 18 U.S.C. § 2253(a)(l). Accordingly, any and all
               property used to commit a child pornography offense must be forfeited
               to the government under § 2253(a)(3).”

        JA226.




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              The court separately held that the nine electronic storage devices were also

        forfeitable “in their entirety” under § 2253(a)(3) as “any property, real or personal,

        used or intended to be used to commit or to promote the commission of such

        offense.” JA227. As with § 2253(a)(1), the court interpreted the term “property” in

        § 2253(a)(3) as referring to the storage devices and their contents. JA227.

              Lastly, based on a declaration by an FBI forensic examiner that Sanders had

        largely discredited, the district court concluded that the government had proven that

        compliance with Sanders’s request would impose a substantial and unwarranted

        burden on government resources. JA232; JA141-142. The court further opined that

        “any burden to the Defendant in this case [was] a result of the Defendant’s own

        wrongdoing,” and that he was the one “who decided to commingle family

        photographs and business records with images of child pornography.” JA233.

        Consequently, the court held that “equity required denial of Defendant’s motion.”

        JA233.

              Sanders timely filed his notice of appeal to the denial of his Rule 41(g) motion

        and the entry of the preliminary order of forfeiture on September 1, 2022. JA236.




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                               SUMMARY OF THE ARGUMENT

              1.     The preliminary order of forfeiture should be vacated because

        Sanders’s legally possessed, non-contraband electronic files that are stored within

        electronic storage devices that also separately contain visual depictions of child

        pornography are not forfeitable pursuant to 18 U.S.C. § 2253(a)(1) which requires

        the forfeiture of any visual depiction, book, magazine, periodical, film, video tape

        or “other matter” that contains child pornography.

              2.     The preliminary order of forfeiture should be vacated because

        Sanders’s legally possessed, non-contraband electronic files that are stored within

        electronic storage devices that also separately contain visual depictions of child

        pornography are not forfeitable pursuant to 18 U.S.C. § 2253(a)(3) as “property”

        used or intended to be used to commit or promote the commission of a child

        pornography offense.

              3.     The district court erred in denying Sanders’s post-trial, Rule 41(g)

        motion for the return of legally possessed, non-contraband electronic files that are

        stored within electronic storage devices that also separately contain visual depictions

        of child pornography, the seizure of which exceeded the scope of the warrant.

              4.     The district court’s preliminary order of forfeiture forfeiting Sanders’s

        electronic storage devices “in their entirety,” including legally possessed, non-




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        contraband files stored within those devices, violated the Eighth Amendment

        requirement of proportionality in sentencing.

                                    STANDARD OF REVIEW

              In criminal forfeiture proceedings, this Court reviews the district court’s

        findings of fact for clear error and the district court’s legal interpretations de novo.

        United States v. Morgan, 224 F.3d 339, 342 (4th Cir. 2000); United States v. Martin,

        662 F.3d 301 (4th Cir. 2011). This Court also reviews de novo questions of statutory

        interpretation. Taylor v. Grubbs, 930 F.3d 611, 616 (4th Cir. 2019) (citing Natl.

        Ass’n of Mfrs. v. Dep’t. of Def., ___ U.S. ___, 138 S. Ct. 617, 631 (2018)); Ignacio

        v. United States, 674 F.3d 252, 254 (4th Cir. 2012); United States v. Ide, 624 F.3d

        666, 668 (4th Cir. 2010).

              The denial of a Rule 41(g) motion for the return of seized property is reviewed

        for an abuse of discretion. United States v. Mora, 353 Fed. Appx. 792, 793 (4th Cir.

        2009) (“A district court abuses its discretion when it fails or refuses to exercise its

        discretion or when its exercise of discretion is flawed by an erroneous legal or factual

        premise”) (internal citations omitted).

              Finally, as to errors to which the appellant failed to make a timely objection,

        a reviewing court must examine the appellant’s arguments under the “plain error”

        standard set out in Fed. R. Crim. Pro 52(b). United States v. Olano, 507 U.S. 725,

        731 (1993).


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                                            ARGUMENT

           I.      Electronic storage devices are not “other matter” forfeitable under 18
                   U.S.C. § 2253(a)(1).

                This case requires the Court to decide whether the term “other matter” as used

        in 18 U.S.C. § 2253(a)(1), refers to electronic files which contain visual depictions

        of child pornography, or to the storage devices that contain the electronic files.

                The forfeiture of property in child pornography cases is governed by 18

        U.S.C. § 2253(a). Section 2253(a)(1) provides that any person convicted of a child

        pornography offense shall forfeit such person’s interest in—

                any visual depiction . . . or any book, magazine, periodical, film,
                videotape, or other matter which contains any such visual depiction [of
                child pornography].

        (emphasis added). The proper scope of the statutory provision is a question of first

        impression for this Court.

                The district court held that the provisions of § 2253(a) “unambiguously

        require[d] forfeiture of [Sanders’s] electronic devices in their entirety,” and that he

        was not entitled to the return of non-contraband files stored within those devices.

        JA225. The court further held that because § 2253(a)(1) “makes no exception for

        non-contraband material contained on the electronic devices,” § 2253(a)(1) required

        forfeiture of “the matter containing the visual depictions—i.e., the electronic storage

        devices.” (emphasis added). JA227. As demonstrated below, the district court was

        plainly wrong.

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              A. In determining the meaning of statutory terms, courts turn to basic
                 principles of statutory construction requiring that terms be given their
                 plain meaning by reference to the context in which those terms are
                 used.

              As this Court has made clear in statutory interpretation cases, “[the Court]

        begins with the text of the statute, ‘read in the specific context in which that language

        is used, and the broader context of the statute as a whole.’” Taylor v. Grubbs, 930

        F.3d 611, 616 (4th Cir. 2019) (quoting Robinson v. Shell Oil Co., 519 U.S. 337, 341

        (1997)). Where the text is unambiguous, the inquiry is complete. Nat’l Ass’n of

        Mfrs. v. Dep’t of Def., ––– U.S. ––––, 138 S. Ct. 617, 631 (2018); Lee v. Norfolk S.

        Ry. Co., 802 F.3d 626, 631 (4th Cir. 2015). The plainness or ambiguity of statutory

        language is determined by the text of the statute. Grubbs, 930 F.3d at 616; Ignacio

        v. United States, 674 F.3d 252, 254 (4th Cir. 2012); Norfolk S. Ry.Co., 802 F.3d at

        631 (quoting Yates v. United States, 574 U.S. 528, 537 (2015)).

              When interpreting a statute, courts must “first and foremost strive to

        implement congressional intent by examining the plain language of the statute.”

        United States v. George, 946 F.3d 643, 645 (4th Cir. 2020) (quoting United States

        v. Abdelshafi, 592 F.3d 602, 607 (4th Cir. 2010)). As a result, absent ambiguity or

        a clearly expressed legislative intent to the contrary, this Court applies the plain

        meaning of the statute, which is “determined by reference to its words’ ‘ordinary

        meaning at the time of the statute’s enactment.’” George, 946 F.3d at 645 (internal

        citations omitted).

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              Since there is no statutory definition of “other matter” in § 2253, the Court

        must first look to the words’ ordinary dictionary meaning. Id. at 646. The relevant

        dictionary definitions of “matter” range from “the substance of which a physical

        object is composed” to “material substance that occupies space.” 4 But, as the

        Supreme Court explained, “[w]hether a statutory term is ambiguous does not turn

        solely on dictionary definitions of its component words.” Yates v. United States,

        574 U.S. 528, 537 (2015). When a term as broad as “other matter” appears in a

        statute, the text is better read within the “specific context in which the language is

        used.” Id. at 546.

              B. The text of § 2253(a)(1) must be read to include only “other matters”
                 from which child pornography cannot be removed or separated out
                 without materially altering or destroying the matter.

             Nothing in the text or context of § 2253(a)(1) or its legislative history indicates

        that Congress intended to broaden the meaning of “other matters” beyond those

        matters sharing the same attributes as books, magazines, films, or videotapes. In

        order to avoid giving unintended breadth to the Acts of Congress, the statutory

        phrase “other matter which contains any such visual depiction” must be read to

        include only “matters” that share features common to books, magazines, periodicals,



        4
         Matter, Merriam-Webster.com,
        https://www.merriam-webster.com/dictionary/matter (last visited Dec. 15, 2022).
        There is no legal definition of matter. See Matter; BLACK’S LAW DICTIONARY (11th
        ed. 2019)

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        films, and videotapes—i.e., items which can be separately viewed, copied, and

        transmitted, and from which content cannot be removed without destroying their

        original form. See Yates v. United States, 574 U.S. 528 (2015).5 Electronic storage

        devices, unlike the files stored within them, share none of these features.

             Nor does child pornography often appear in books, magazines, periodicals,

        films, and videotapes that are not also dedicated to that content further distinguishing

        them from storage devices like computers and cellphones which rarely store

        information solely devoted to child pornography. Because the focus of § 2253(a)(1)

        is to remove depictions of child pornography from circulation, forfeiting physical

        devices storing large quantities of personal information unrelated to any child



        5
          In Yates, a commercial fisherman who had ordered his crew to toss illegally caught
        fish back into the ocean to prevent government agents from spotting that he had
        violated fishing regulations was charged with violating 18 U.S.C. § 1519. Yates,
        574 U.S. at 531. That provision provides that “[w]hoever knowingly alters, destroys
        . . . any record, document, or tangible object with the intent to impede, obstruct, or
        influence the investigation or proper administration of any matter within the
        jurisdiction of any department or agency of the United States . . . shall be fined . . .
        or imprisoned not more than 5 years, or both.” The government argued that the fish
        thrown back into the water were “tangible objects,” relying on the dictionary
        definition. Id. The Supreme Court rejected this “unrestrained” interpretation of the
        phrase because “tangible object” was “last in a list of terms that begins ‘any record
        [or] document,” and “is therefore appropriately read to refer, not to any tangible
        object, but specifically to the subsect of tangible objects involving records and
        documents, i.e., objects used to record or preserve information.” Id. at 544. The
        Court also observed that “Congress would have had no reason to refer specifically
        to ‘record’ or ‘document’ “had Congress “intended ‘tangible object’ in § 1519 to be
        interpreted so generically as to capture physical objects as dissimilar as documents
        and fish.” Id.

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        pornography offense does not advance the purposes of subsection (a)(1) or reduce

        the amount of child pornography in circulation and was not a proper basis upon

        which to forfeit Sanders's legally possessed filed.

              C. The structure of § 2253(a) as a whole supports a narrower
                 interpretation of “other matter.”

             The structure of § 2253(a) also cuts against the district court’s reading of “other

        matter.” As this Court stated in United States v. Johnson, 915 F.3d 223 (4th Cir.

        2019), “we ‘interpret the relevant words not in a vacuum, but with reference to the

        statutory context.’” Id. at 229 (quoting Torres v. Lynch, ––– U.S. ––––, 136 S. Ct.

        1619, 1626 (2016)).

             Section 2253(a) is divided into three sections. The first, (a)(1), plainly targets

        visual depictions containing child pornography. The second, (a)(2), targets the

        proceeds of child pornography offenses. Section 2253(a)(3) serves to target property

        used to commit these offenses which necessarily includes any physical and electronic

        containers used to store child pornography.6 In order to give meaning to subsection

        (a)(1), it must be interpreted to have some purpose other than that intended by

        subsection (a)(3) or the language in the subdivision would be superfluous. See




        6
          Indeed, at the forfeiture hearing, Sanders conceded that § 2253(a)(3) required the
        forfeiture of the eight physical devices found to contain child pornography as
        property used to commit or facilitate an offense of conviction. JA179.

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        Yates, 574 U.S. at 543 (“We resist a reading of § 1519 that would render superfluous

        an entire provision passed in proximity as part of the same Act”).

             The placement of “other matter” after a series of terms with these shared

        features also signals that the term “other matter,” was not intended to include “all

        matters” or to have an all-encompassing meaning. Yates, 574 U.S. at 545 (“Where

        general words follow specific words in a statutory enumeration, the general words

        are [usually] construed to embrace only objects similar in nature to those objects

        enumerated by the preceding specific words.”) (quoting Washington State Dept. of

        Social and Health Servs. v. Guardianship Estate of Keffeler, 537 U.S. 371, 384

        (2003). Had Congress intended “other matter” in § 2253(a)(1) to be interpreted so

        generically as to capture physical objects as dissimilar as videotapes and computers,

        it would have had no reason to specifically refer to “books,” “magazines,” or

        “periodicals,” or to include the examples at all. See Yates, 574 U.S. at 545-46.

              By including the terms “books, magazines, periodicals, films, and videotapes”

        in subsection (a)(1), Congress signaled its intent to limit the term “other matter” to

        items that are similar in nature to the words preceding it. The failure to read

        subsection (a)(1) as targeting depictions of child pornography and not the storage

        devices that contain them, and (a)(3) as focusing on the instrumentalities used to

        commit the crime, would render an entire subsection of § 2253(a) superfluous and




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        ignore the overall statutory scheme. The plain language of the statute requires that

        the two subsections be given different meanings.

              Congress further signaled its intent to limit the meaning of “other matter”

        when it amended 18 U.S.C. § 2252(a)(4) in 1998.               Section 2252(a)(4)(B)

        criminalizes certain conduct relating to material involving the sexual exploitation of

        minors, making it a crime, among other things, to:

              (B) knowingly possesses, or knowingly accesses with intent to view, 1
              or more books, magazines, periodicals, films, video tapes, or other
              matter which contain any visual depiction . . . which was produced
              using materials which have been mailed or so shipped or transported,
              by any means including by computer . . .

        Pub. L. 104-208 (emphasis added). Congress would not have needed to include the

        phrase “including by computer” if it intended “other matter” to also include

        electronic storage devices like a computer.

              D. Every court that has construed the phrase “any book, magazine,
                 periodical, film, videotape, or other matter,” or a related provision in
                 a prior version of the Sentencing Guidelines has concluded that files,
                 not electronic storage devices are “other matter,” with one exception.
                 That case has been called into question.

              With one exception, cases interpreting the term “other matter” in prior

        versions of 18 U.S.C. § 2252(a)(4), and a related provision in U.S.S.G. § 2G2.4, all

        support Sanders’s reading of the statute. Until it was amended in 1998, 18 U.S.C.

        § 2252(a)(4)(B) prohibited the possession of three or more “books, magazines,

        periodicals, films, video tapes, or other matter which contain any visual depiction”



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        of child pornography. Pub. L. 104-208, Sept. 30, 1996, 110 Stat. 3009-30 (emphasis

        added). In United States v. Vig, 167 F.3d 443 (8th Cir. 1999), the issue on appeal

        was whether the defendants could be convicted under that prior version of

        § 2252(a)(4)(B) when the visual depictions of child pornography were saved in three

        or more computer image files that were located on only a single computer hard drive.

        Id. at 446. Vig argued that “other matter” referred to the physical medium that

        contained the visual depictions—the computer hard drive—and therefore the

        evidence was insufficient to convict him of possessing three or more “other matter.”

        Unsurprisingly, the government argued, as Sanders does here, that “other matter”

        refers to the computer files containing the image, not the physical storage medium.

        Id. at 446-47.

              In the absence of a statutory definition for the term “other matter,” or what the

        court considered a clearly expressed legislative intention to the contrary, the Eighth

        Circuit looked to the plain language of the statute and the ordinary, commonsense

        meaning of the words to determine congressional purpose. Relying largely on

        United States v. Hall, 142 F.3d 988 (7th Cir. 1998) and United States v. Fellows, 157

        F.3d 1197 (9th Cir. 1998), two decisions interpreting prior versions of

        § 2252(a)(4)(B) and U.S.S.G. § 2G2.4(b)(2), the court in Vig held that the plain




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        common sense meaning of “other matter” referred to computer image files. Id. at

        447-48.7

              In Hall, the Seventh Circuit considered whether the files stored within a

        computer that also contained depictions of child pornography could be considered

        “matter,” “items,” or “material” for purposes of U.S.C. § 2252(a)(4)(B). Adopting

        the views of several other courts, the court in Hall held that:

              [a]lthough the statute does not define “other matter” or “materials,”
              plain meaning suggests a prohibition of three or more of anything
              containing a visual depiction transported in interstate commerce. In this
              case, the “other matter” or “materials” are the 403 individually-named
              computer files Hall received in interstate commerce via AOL.

        Id. at 999.

              A year later, the Ninth Circuit applied the same § 2G2.4(b)(2) enhancement

        to a defendant who pled guilty to possessing more than 10 computer graphics files

        of child pornography in United States v. Fellows, 157 F.3d 1197 (9th Cir. 1998).

        There, the defendant also argued that the two-level enhancement should not apply

        to his sentence because the computer graphics files he possessed were all found on

        one computer—i.e., one “item.”        Id. at 1199, 1201.      At the time, U.S.S.G.



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          Finding no ambiguity in the statute, the court also rejected the Ninth Circuit’s
        conclusion in United States v. Lacy, 119 F.3d 742 (9th Cir. 1997), that a hard drive
        is the computer equivalent of a book, magazine, or periodical, as well as the
        defendants’ reliance on legislative history from a subsequent Congress to infer the
        intent of an earlier Congress for purposes of statutory construction. Vig, 167 F.3d at
        448-49.

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        § 2G2.4(b)(2) provided for a two-level enhancement “[i]f the offense involved

        possessing ten or more books, magazines, periodicals, films, video tapes or other

        items, containing a visual depiction involving the sexual exploitation of a minor.”

        Id. at 1200 (emphasis added). The court disagreed, finding that “a graphic file in a

        computer [not the computer itself] counts as an ‘item’ under U.S.S.G.

        § 2G2.4(b)(2).” Id. at 1201. More specifically, the Ninth Circuit found that:

              The commonality between the “items” specifically enumerated in the
              section is that they are all discrete containers for visual depictions
              capable of being separately manipulated and distributed.

              The closest cousin to “books, magazines, periodicals, films, [or] video
              tapes” in the computer is a computer file. Visual depictions in a
              computer are compiled and stored in graphics files, much like
              photographs are compiled and stored in books or magazines. As the
              district court recognized, the computer user can separately view, copy,
              delete, or transmit each discrete graphics file. Like the other “items”
              listed in the guideline section, a graphics file can store one or more
              visual depictions. The similarities between computer graphics files and
              the other “items” are manifest. Because the graphics file is the container
              used for compiling and storing visual depictions in a computer, it
              qualifies as an “item” under the plain language of U.S.S.G.
              § 2G2.4(b)(2).

        Id. (emphasis added).

              Even more to the point, the court ruled that:

              A computer hard drive is much more similar to a library than a book; .
              . . Each file within the hard drive is akin to a book or magazine within
              that library. Thus, the files, not the hard drive, count as “items” under
              U.S.S.G. § 2G2.4(b)(2).

        Id.



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               Other courts considering convictions under a similar child pornography

        statute have also concluded that the term “item” used in U.S.S.G. § 2G2.4(b)(2)

        means computer files, not the entire computer or hard drive. See e.g., United States

        v. Thompson, 281 F.3d 1088, 1091-92 (10th Cir. 2002) (agreeing with Fellows and

        other circuits that files, not hard drives, are “other items” under the guideline);

        United States v. Harper, 218 F.3d 1285, 1287 (11th Cir. 2000) (per curium)

        (agreeing with Fellows that each file, and not the entire computer disk equates with

        a book or magazine for purposes of § 2G2.4(b)(2)); United States v. Demerritt, 196

        F.3d 138, 143 (2d Cir. 1999) (agreeing with Fellows and others that under the plain

        meaning of U.S.S.G. § 2G2.4(b)(2), computer files are “items”).

               Employing the same argument that the government has successfully advanced

        in prior cases, the term “other matter,” as used in § 2253(a)(1) clearly refers to

        individual computer files that contain the child pornography, not to the entirety of

        the device itself as the district court held.

               E. The Rule of Lenity requires that this Court interpret the reach of
                  § 2253(a)(1) in the manner that is most favorable to Sanders.

               The plain meaning of “other matter” should end this Court’s inquiry.

        However, if ambiguity is present in the statute, that ambiguity must be resolved in

        Sanders’s favor.

               Beyond the general tools of statutory interpretation, “special considerations

        govern[ ] the interpretation of criminal statutes.” United States v. Hilton, 701 F.3d

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        959, 966 (4th Cir. 2012). Criminal statutes are “strictly construed and should not be

        interpreted to extend criminal liability beyond that which Congress has plainly and

        unmistakenly proscribed.” Id. (internal quotation marks omitted). When ambiguity

        is present in criminal statutes, that ambiguity “must be resolved in favor of lenity for

        the accused.” United States v. George, 946 F.3d 643, 645 (4th Cir. 2020) (quoting

        United States v. Sheek, 990 F.2d 150, 153 (4th Cir. 1993). See also Reno v. Koray,

        515 U.S. 50, 65 (1995) (“The rule of lenity applies only if, ‘after seizing everything

        from which aid can be derived,’ we can make ‘no more than a guess as to what

        Congress intended.’” (internal citations omitted)).

                 Thus, to the extent ambiguity exists in the statute, § 2253(a) should be strictly

        construed and the rule of lenity applies.

           II.      Sanders’s non-contraband electronic files are separate “property”
                    from the tangible devices in which they are stored and are not subject
                    to forfeiture pursuant to 18 U.S.C. § 2253(a)(3).

                 18 U.S.C. § 2253(a)(3) provides that a person convicted of an offense under

        Chapter 110 of Title 18 involving depictions of child pornography “shall forfeit to

        the United States such person’s interest in . . . (3) any property, real or personal, used

        or intended to be used to commit or to promote the commission of such offense or

        any property traceable to such property.”

                  “Property,” in this context, is a statutorily defined term. Specifically,

         § 2253(b) incorporates by reference “Section 413 of the Controlled Substances


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         Act (21 U.S.C. § 853), with the exception of subsections (a) and (d) . . .” 18 U.S.C.

         § 2253(b). Consequently, the following definitions apply when construing the

         meaning of the term “property” for purposes of § 2253(a)(3):

              Meaning of term “property”

                     Property subject to criminal forfeiture under this section
                     includes—
                     (1) real property, including things growing on, affixed to, and
                     found in land; and

                     (2) tangible and intangible personal property, including
                     rights, privileges, interests, claims, and securities.

         21 U.S.C. § 853(b) (emphasis added).

              The district court’s ruling that the electronic devices are forfeitable “in their

         entirety,” ignored the plain language of § 853(b) and would render the terms

         “tangible” and “intangible” superfluous.

              A. Non-contraband electronic files are separate items of property from
                 the physical medium on which they are stored.

              In addition to the plain language of the statute, the treatment of digital

        information in other areas of criminal law and common experience are also

        inconsistent with the district court’s characterization of the non-contraband files as

        part of the forfeitable devices. JA226.




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                  1. The physical storage devices and the files within those devices are not
                     a single piece of property.

              Courts interpreting forfeiture provisions in other areas of criminal law have

        looked to the instrument creating the defendant’s interest in property as the “logical”

        or “natural” sources when determining what constitutes “property” subject to

        forfeiture. For example, the Sixth Circuit refused to forfeit a four-tract farm used to

        grow marijuana even though the defendant used only part of the property for that

        purpose where the defendant initially obtained his interest in the whole of each of

        the four tracts by virtue of four separate deeds. See United States v. Smith, 966 F.2d

        1045, 1054-56 (6th Cir. 1992).

              Similarly, in United States v. One 1998 Tractor, 288 F. Supp. 2d 710 (W.D.

        Va. 2003), aff’d sub nom., United States v. Shimshiryan, 117 F. App’x 863 (4th Cir.

        2004), the court held that the tractor and trailer owned by a truck driver who pled

        guilty to transporting contraband cigarettes did not constitute one vehicle subject to

        forfeiture because the tractor and trailer were purchased separately, had separate

        titles, and separate vehicle identification numbers. Id. at 713 (citing United States

        v. Santoro, 866 F.2d 1538, 1543 (4th Cir. 1989)).

              Extending this logic from physical to digital storage, files that did not come

        with the physical storage devices when they were purchased, can be moved to

        different devices, and are not necessary to make the devices work do not constitute

        a single piece of property subject to forfeiture under § 2253(a)(3). As such, the later

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        acquired, non-contraband files on Sanders’s devices are not forfeitable property

        where only the devices and a portion of the files stored in those devices were used

        for a prohibited purpose.

                  2. Treating non-contraband computer files on a storage device as
                     separate property that the government is required to return is in
                     keeping with what numerous other courts have previously held.

              Drawing on analogies to closed containers or file cabinets, common sense also

        dictates that a computer is a repository for files in electronic form just as a file

        cabinet or footlocker is a repository for tangible items such as papers and other

        personal effects. Just as no reasonable person would consider his paper documents

        part of a file cabinet, electronic files are not a permanent part of the physical devices

        in which they are stored.

              Similarly, courts often draw analogies between computers and physical

        storage units such as file cabinets and closed containers when applying established

        Fourth Amendment principles, finding the differences between computers and

        physical repositories of personal information and effects legally insignificant. For

        example, in United States v. Trulock, 275 F.3d 391, 403 (4th Cir. 2001), this Court

        held that joint access to a shared computer did not give one user authority to consent

        to the search of the other user’s password protected files. There, the Court implicitly

        found that electronic files, like their physical counterparts, can have separate owners

        and should be treated as separate property from the containers in which they are


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        stored. See also United States v Yu Qin, 688 F.3d 257, 259-60, 264-65 (6th Cir. 2012)

        (equating stolen proprietary files copied onto an employee’s personal hard drive with

        physical documents belonging to the employer); In re Grand Jury Subpoena Duces

        Tecum, 846 F. Supp. 11, 12–13 (S.D.N.Y. 1994) (analogizing computer hard drives

        and floppy disks that contained electronic documents to file cabinets that contained

        paper documents in deciding that subpoena for computer-accessible data was

        unreasonably broad); United States v. David, 756 F. Supp. 1385, 1390 (D. Nev.

        1991) (recognizing that a computer memo book “is indistinguishable from any other

        closed container, and is entitled to the same Fourth Amendment protection”).

              In United States v. Williams, 592 F.3d 511 (4th Cir. 2010), this Court endorsed

        the principle that the sheer amount of information contained on a computer does not

        distinguish the authorized search of the computer from an analogous search of a file

        cabinet containing a large number of documents, holding that neither is legally

        relevant in the Fourth Amendment context. Id. at 523-24. Notably, the Court

        reasoned that:

              At bottom, we conclude that the sheer amount of information contained
              on a computer does not distinguish the authorized search of the
              computer from an analogous search of a file cabinet containing a large
              number of documents. As the Supreme Court recognized in Andresen,
              “[T]here are grave dangers inherent in executing a warrant authorizing
              a search and seizure of a person’s papers that are not necessarily present
              in executing a warrant to search for physical objects whose relevance
              is more easily ascertainable.” (citation omitted). While that danger
              certainly counsels care and respect for privacy when executing a
              warrant, it does not prevent officers from lawfully searching the

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              documents, nor should it undermine their authority to search a
              computer’s files. See United States v. Giberson, 527 F.3d 882, 888 (9th
              Cir.2008) (holding that “neither the quantity of information, nor the
              form in which it is stored, is legally relevant in the Fourth Amendment
              context”). We have applied these rules successfully in the context of
              warrants authorizing the search and seizure of non-electronic files, see
              Crouch, 648 F.2d at 933–34, and we see no reason to depart from them
              in the con text of electronic files.

        Id. The Court further instructed that:

              When a search requires review of a large collection of items, such as
              papers, “it is certain that some innocuous documents will be examined,
              at least cursorily, in order to determine whether they are, in fact, among
              those papers authorized to be seized.” (citations omitted) . . . If, in those
              circumstances, documents not covered by the warrant are improperly
              seized, the government should promptly return the documents

        Id. at 519-20.

              More recently, in In re Search Warrant Issued June 13, 2019, 942 F.3d 159,

        (4th Cir. 2019), as amended (Oct. 31, 2019), this Court was required to rule on the

        government’s use of a taint team to examine the fruits of a law office search. There,

        the Court made clear its intention that electronic files stored on a lawyer’s computers

        and an iPhone were to be treated as separate property from the devices themselves

        for Fourth Amendment purposes. Rejecting the use of a government taint team, the

        Court remanded the case with instructions to the magistrate judge to individually

        review file extractions from a lawyer’s iPhone, an iPad belonging to the law firm,

        and a laptop belonging to a firm associate; identify materials not covered by the

        search warrant and return them to the law firm; and conduct a privilege evaluation



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        of the remaining materials. Id. at 170. The Court also ordered the approximately

        52,000 emails extracted from the lawyer’s devices that were outside the scope of the

        warrant to be returned to the law firm like their physical counterparts. Id. at 166-67;

        170, 183. The seizure of the legally possessed, non-contraband files on Sanders’s

        devices similarly exceeded the scope of the warrant requiring their return.

              Treating individual files on a storage device as separate property that the

        government was required to return is also in keeping with what numerous other

        courts have previously held. See e.g. United States v. Comprehensive Drug Testing,

        Inc., 621 F.3d 1162, 1171-72 (9th Cir. 2010) (holding that “equitable considerations”

        required sequestration and return of imaged copies of electronically stored drug-

        testing records for hundreds of Major League baseball players intermingled with

        drug-testing records for ten athletes named in a separate warrant that the

        government’s forensic specialist copied during a search rather than seizing the entire

        hard drive or the computer); United States v. Metter, 860 F. Supp. 2d 205, 215, 216

        (E.D.N.Y. 2012) (holding that government may not seize and image electronic data

        and then retain the imaged data with no plans to review the information to determine

        whether irrelevant, personal data was improperly seized as outside the scope of the

        warrant; United States v. Debbi, 244 F. Supp. 2d 235, 237-38 (S.D.N.Y. 2003)

        (finding Fourth Amendment violation in search, seizure, and retention of seven

        boxes of documents from defendant’s home which included “personal and religious


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        files, general correspondence, [and] family financial records,” when “no meaningful

        attempt” was made to separate and retain only the items the warrant permitted to be

        seized).

               Neither case law nor common sense suggests any reason to distinguish a

        computer from an analogous file cabinet containing a large number of documents

        when determining whether property was improperly seized, or to conclude that the

        district court did not conflate Sanders’s electronic files and the devices within which

        they are stored when concluding that the non-contraband files were properly subject

        to forfeiture.

               B. The district court’s reliance on Noyes and Wernick was misplaced.

               The district court’s reliance on United States v. Noyes, 557 Fed. App’x 125

        (3d Cir.2014) (unpublished) and United States v. Wernick, 673 Fed. App’x. 21 (2d

        Cir. 2016) (unpublished), was also misplaced. JA228-229. First, both Noyes and

        Wernick were largely decided on procedural grounds. Specifically in Noyes, the

        court held that Noyes waived his appeal to the denial of his Rule 41(g) motion after

        he consented to the entry of a final order of forfeiture. The court held that Noyes

        was required to challenge the scope of the forfeiture order on direct appeal which he

        failed, unlike Sanders, to do. Notably, the court also failed to consider the statutory

        definition of “property” in 21 U.S.C. § 853 when construing § 2253(a)(3), assuming




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        instead that Noyes’s computers and non-contraband files were all a single piece of

        “property,” as the district court did here. See id. at 127.

              The district court’s reliance on United States v. Wernick was also misplaced.

        Wernick appealed the denial of a Rule 41(g) motion seeking the return of all data

        not containing child pornography on his electronic devices after agreeing to the entry

        of an order of forfeiture that required him to surrender “all of his right, title and

        interest” to the seized devices. 8 Id. at 25. Unlike Wernick, Sanders objected to the

        entry of the preliminary order of forfeiture. The Second Circuit summarily held that

        “even absent waiver, the district court did not err in denying Wernick’s Rule 41(g)

        motion, but expressly declined to decide whether under § 2253(a)(3), “defendants in

        some cases may retain interests in data unconnected to criminal activity that is stored

        on a hard drive that is itself forfeitable because it was ‘used ... to commit or to

        promote the commission of [a child pornography] offense.’” Id. at 25-26. This is

        such a case.




        8
          Wernick did not seek return of specific files of a clearly non-criminal nature and
        of high personal value that could readily be disentangled from the devices used to
        further his criminal activities. Rather, he sought the return of all non-pictorial files
        on the hard drive, as well as metadata relating to all files. The court held that was
        impossible to confidently conclude that none of the data requested was in-fact not
        used to facilitate the offenses of conviction and that “thousands and thousands of
        hours” would be required to segregate the computer data as Wernick requested—
        circumstances not present in Sanders’s case. 673 F. App’x at 25.

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               Although there is considerable case law interpreting forfeiture statutes, few

        courts have articulated the contours of a Rule 41(g) motion where the defendant is

        seeking the return of non-contraband “property,” and objects to the entry of a

        forfeiture order before the order is entered. Here, it was Sanders’s Rule 41(g) motion

        that triggered the government’s request for a preliminary order of forfeiture. The

        burden of proof on a Rule 41(g) motion “depends on when the defendant files the

        motion.” United States v. Wright, 49 F.4th 1221, 1225, 1228 (9th Cir. 2022). The

        burden was therefore on the government to establish a legitimate reason to withhold

        the non-contraband files which it failed to do. Because the non-contraband image

        and data files were outside the scope of the warrant and not themselves forfeitable,

        the files should have been segregated and returned.9

            III.   Forfeiture of Files Containing Sanders’s Only Record of His Personal,
                   Academic and Professional Life, Unrelated To An Offense Of
                   Conviction, Would Violate The Eighth Amendment’s Requirement Of
                   Proportionality In Sentencing.

               Sanders concedes, as he must, that he failed to raise his Eighth Amendment

        challenge to the government’s motion for a preliminary order of forfeiture.

        Accordingly, Sanders’s Eighth Amendment claim is reviewable for plain error.



        9
          The prosecution also greatly exaggerated burden on the FBI and the number of files
        at issue, as well as mischaracterizing the capabilities of artificial intelligence
        software used by law enforcement to detect and analyze child pornography content
        in cases involving millions of images and videos as reasons for not returning the
        files. JA141.

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              However, even under a plain-error standard of review, the district court’s

        forfeiture of non-contraband files containing the artifacts of Sanders’s personal,

        family and business life was unconstitutionally excessive under the Eighth

        Amendment’s Excessive Fines Clause. See United States v. Jalaram, Inc., 599 F.3d

        347, 354 (4th Cir. 2010).

              A. The forfeiture order was grossly disproportional relative to the gravity
                 of a defendant’s offense.

              The Eighth Amendment dictates that “[e]xcessive bail shall not be required,

        nor excessive fines imposed, nor cruel and unusual punishments inflicted.” U.S.

        Const. amend. VIII (emphasis added). Specifically, the Excessive Fines Clause

        “limits the government’s power to extract payments, whether in cash or in kind, ‘as

        punishment for some offense.’” Austin v. United States, 509 U.S. 602, 609–610,

        (1993) (emphasis added). Indeed, the Supreme Court has held that “[f]orfeitures—

        payments in kind—are thus “fines” if they constitute punishment for an offense.”

        United States v. Bajakajian, 524 U.S. 321, 328 (1998).

              In United States v. Jalaram, 599 F.3d 347 (4th Cir. 2010), this Court

        undertook a detailed analysis of Austin v. United States, 509 U.S. 602 (1993),

        Alexander v. United States, 509 U.S. 544 (1993), and United States v. Bajakajian,

        524 U.S. 321 (1998), the three principal Supreme Court cases analyzing the

        Excessive Fines Clause in the context of criminal forfeiture. The Court concluded

        that the Supreme Court has consistently:

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              reaffirmed that the type of property at issue was irrelevant to the issue
              of whether the forfeiture constituted punishment. Instead, the
              [Supreme] Court [has] [] focused on whether the forfeiture stemmed, at
              least in part, from the property owner’s criminal culpability. If so, the
              forfeiture does constitute punishment and so is subject to
              proportionality review under the Excessive Fines Clause.

        Jalaram, Inc., 599 F.3d at 354 (emphasis added). As such, so long as the forfeiture

        “stems []from the property owner’s criminal culpability[,]” it is subject to the

        protections guaranteed by the Excessive Fines Clause. Id.

              There is little doubt that the forfeiture portion of Sanders’s sentence which

        stemmed entirely from his criminal convictions is subject to the protections

        guaranteed by the Excessive Fines Clause. Although unnecessary to its decision, the

        district court also opined that Sanders was “the one who decided to commingle

        family photographs and business records with images of child pornography,” finding

        that “any burden to the Defendant in this case is the result of the Defendant’s own

        wrongdoing.” JA233. Thus, even the district court believed that the forfeiture of

        non-contraband files containing Sanders’s personal and closely held information

        was punishment, and as such, should have been subject to the Eighth Amendment’s

        proportionality analysis.

              In criminal forfeiture cases, “[t]he touchstone of the constitutional inquiry

        under the Excessive Fines Clause is the principle of proportionality: the amount of

        the forfeiture must bear some relationship to the gravity of the offense that it is

        designed to punish.” United States v. Bennett, 986 F.3d 389, 399 (4th Cir. 2021),

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        cert. denied, 142 S. Ct. 595 (2021) (internal citations omitted). A punitive forfeiture

        violates the Excessive Fines Clause when it is “grossly disproportional to the gravity

        of a defendant’s offense.” Bajakajian, 524 U.S. at 334.

              When determining whether a given forfeiture is “grossly disproportional,”

        courts in this Circuit must weigh the so-called “Jalaram factors,” specifically:

        (1) the forfeiture itself and its relationship to the authorized penalty; (2) the nature

        and extent of the criminal activity; (3) the relationship between the charged crime

        and other crimes; and (4) the harm caused by the charged crime. Jalaram, Inc., 599

        F.3d at 355–56; Bajakajian, 524 U.S. at 337-39.

              Here, the authorized penalty in Sanders’s case was a fine of up to $250,000

        for each count; a total possible special assessment of $1,200; a Justice for Victims

        of Trafficking (“JTVA”) total assessment of $60,000; a possible child pornography

        (“AVAA”) special assessment of up to $50,000 on Counts 1-5, and up to $17,000

        on Count 12. See 18 U.S.C. § 3571; 18 U.S.C. § 3013; 18 U.S.C. § 3014; 18 U.S.C.

        § 2259A. Ultimately, the district court imposed a special assessment of $1,200, a

        JTVA assessment of $60,000, and restitution in the amount of $6,000, but no AVAA

        assessment. JA58-59.

              However, in enacting these monetary penalties, Congress did not impose a

        penalty that had the practical effect of stripping a defendant of his personal history

        that happened to be stored on electronic media. Indeed, in Riley v. California, 573


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        U.S. 373 (2014), where the Supreme Court granted to cell phones the same

        protections guaranteed a home under the Fourth Amendment, the Court described

        cell phones as not just another technological convenience, but “with all [they]

        contain and all they may reveal, they hold for many Americans “the privacies of

        life[.]” Id. at 403. The Court’s characterization of the data found on cell phones was

        based on the understanding that “more than 90% of American adults who own a cell

        phone keep on their person a digital record of nearly every aspect of their lives—

        from the mundane to the intimate.” Id. at 395.

              Moreover, in Riley, the Supreme Court rejected the government’s analogy that

        the search of a cell phone is materially indistinguishable from a search of other small

        personal items carried on an individual which hold personal effects. In so doing, the

        Court recognized that the contents of digital storage devices are nothing like every

        day “containers” of personal effects and deserve heightened constitutional

        protection:

              [Saying] that a search of all data stored on a cell phone is “materially
              indistinguishable” from searches of these sorts of physical items [] is
              like saying a ride on horseback is materially indistinguishable from a
              flight to the moon. Both are ways of getting from point A to point B,
              but little else justifies lumping them together… Cell phones differ in
              both a quantitative and a qualitative sense from other objects.

        Id. at 393. The Court went on to state that “[a] phone not only contains in digital

        form many sensitive records previously found in the home; it also contains a broad




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        array of private information never found in a home in any form—unless the phone

        is.” Id. at 396-97.

              The same principles expressed in Riley necessarily apply to a criminal

        forfeiture proceeding. It bears repeating that Sanders only seeks the return of a

        subset of lawfully possessed files containing the “privacies” of his life. Given the

        incalculable value of such property, the forfeiture of the entire contents of the nine

        devices was disproportional to Congress’ authorized penalty.

              B. The wholesale forfeiture of Sanders’s personal, non-contraband files
                 is grossly disproportional.

              In United States v. Jalaram, Inc., this Court applied the four factors set out

        above, created by the Supreme Court in Bajakajian, to determine whether the

        forfeiture violated the Excessive Fines Clause as “grossly disproportional to the

        gravity of Jalaram’s offense.”

               In Jalaram, the Court held that the criminal forfeiture of $358,390.22 of the

        corporate defendant’s proceeds from money laundering and Mann Act offenses was

        not grossly disproportional to the gravity of its offenses where the criminal activity

        generated hundreds of thousands of dollars in illicit revenues, spanned six months,

        the crimes charged were connected with other offenses including systematic tax

        evasion, the defendant played a significant role in the conspiracy, and the

        defendant’s agent furthered the daily activities of the ring during that entire period.

        Id. at 356-57.

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              Conversely, in Sanders’s case, none of the non-contraband files bear any

        relationship to any of the charged crimes or to any other crimes with which Sanders

        could have been charged. Indeed, they bear no relationship to any criminal activity

        whatsoever. Significantly, the district court imposed $6,000 in restitution, $60,000

        in financial penalties under the Justice for Victims of Trafficking Act (“JTVA”), but

        no additional penalties under the Child Pornography Victim Assistance Act

        (“AVAA”) as its measure of the harm caused to Sanders’s purported victims. 10

              Furthermore, the non-contraband files bear no relationship to the ill-defined

        harm caused by the charged offenses. At no time did Sanders publicly or privately

        share, distribute, or upload images or traffic in sexually explicit materials. The

        eleven production and receipt counts involved teens who sought out Sanders’s

        attention and voluntarily sent him videos and images they willingly took while

        engaging in consensual acts that they could legally perform on themselves. 11 Three

        of the six individuals who sent him their images were age 16 or older, and all had

        initially contacted Sanders on dating websites where they had certified that they were




        10
          In addition to any other criminal penalty, restitution, or special assessment, the
        court could have imposed an additional assessment of up to $67,000 under the
        AVAA, 18 U.S. C. § 2259A(a)(1) & (3).
        11
          The government’s forensic expert never established that Sanders had viewed the
        videos that were the basis for the possession count (Count 12).

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        at least 18 years of age. Three of the six were also older teens with whom Sanders

        had established long-term personal relationships apart from the offense conduct.

              In these circumstances, the forfeiture of a lifetime of Sanders’s one-of-a-kind

        personal photographs and records that played no part in the charged offenses bears

        no relationship to the gravity of the offense that it is designed to punish and is grossly

        disproportional to the nature and extent of the criminal activity in violation of the

        Eighth Amendment.

              C. The forfeiture of Sanders’s non-contraband files does not prevent the
                 further spread of child exploitation material and is not in keeping with
                 the purpose of criminal forfeiture.

              Forfeiting Sanders’s non-contraband personal files, which were not used to

        facilitate the commission of any criminal offense and are not specifically covered by

        the forfeiture statute, is not in keeping with the purpose of criminal forfeiture –

        namely preventing the further spread of child exploitation material, protecting the

        victims of such material from repeated victimization, and confiscating the fruits of

        criminal activity. See United States v. Martin, 662 F.3d 301, 309 (4th Cir. 2011)

        (“the substantive purpose of criminal forfeiture is … to deprive criminals of the fruits

        of their illegal acts and deter future crimes”).

              In October 1998, the Senate took up debate on H.R. 3494, titled the Protection

        of Children From Sexual Predators Act of 1998. Among the many changes H.R.

        3494 made to the child pornography statute, it provided for several minor changes


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        to 18 U.S.C. § 2253 (criminal forfeiture) and § 2254 (civil forfeiture) by adding

        additional offenses which would result in criminal and civil forfeiture. 12 See 144

        Cong. Rec. S12257-01, S12259, 1998 WL 701518.

              During the debate on H.R. 3494 in the Senate, speaking to the purpose of the

        child pornography statutory scheme, Senator Hatch stated in part:

              “How does this bill provide additional protection for our children?
              …law enforcement is given effective tools to pursue sexual predators.
              The Attorney General is provided with authority to issue administrative
              subpoenas in child pornography cases. Proceeds derived from these
              offenses, and the facilities and instrumentalities used to perpetuate
              these offenses, will be subject to forfeiture. And prosecutors will have
              the power to seek pretrial detention of sexual predators prior to trial”

        Id. (emphasis added).

              As evident from the floor debate, Congress intended the child pornography

        forfeiture statute to mirror the commonly accepted purpose of criminal forfeiture,

        i.e., to deprive offenders of their ill-gotten fruits and to deter future criminal conduct

        by removing the instrumentalities of the crime. See e.g. United States

        v. Newman, 659 F.3d 1235, 1243 (9th Cir. 2011) (stating that criminal forfeiture is

        a means of disgorging a criminal defendant of his “ill-gotten gains”); United States

        v. Venturella, 585 F.3d 1013, 1019 (7th Cir. 2009) (“forfeiture seeks to punish a


        12
          Compare 18 U.S.C. § 2254 (1998) (civil forfeiture), with 18 U.S.C. § 2253 (1998)
        (criminal forfeiture). Both code sections provide for the forfeiture of “any visual
        depiction described in section 2251, 2251A, or 2252 of this chapter, or any book,
        magazine, periodical, film, videotape, or other matter which contains any such visual
        depiction[.]”

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        defendant for his ill-gotten gains by transferring those gains ... to the United States

        Department of Justice”) (citation omitted); United States v. Hoover–Hankerson, 511

        F.3d 164, 171 (D.C. Cir. 2007) (“Forfeiture is a means of forcing a criminal

        defendant to disgorge ill-gotten profits.”).

               Here, the blanket forfeiture of Sanders’s legally possessed, non-contraband

        files does not serve Congress’ stated purpose of deterring criminal conduct and

        transferring ill-gotten gains out of the hands of offenders or reducing the circulation

        of child pornography.

               D. The forfeiture order was plainly excessive under the Eighth
                  Amendment.

               To succeed under plain-error review, Sanders bears the burden to show that

        (1) an error occurred; (2) the error was plain; and (3) the error affected his substantial

        rights. United States v. Olano, 507 U.S. 725, 732 (1993); United States v. Knight,

        606 F.3d 171, 177 (4th Cir. 2010). If these three prongs are met, then this Court may

        choose to exercise its discretion to correct the error if it “seriously affect[s] the

        fairness, integrity or public reputation of judicial proceedings.” Olano, 507 U.S. at

        732.

               As argued above, the district court committed error in ordering the wholesale

        forfeiture of Sanders’s electronic devices, including their entire contents, without

        first conducting the necessary proportionality test mandated under the Excessive

        Fines Clause.

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                  1. The district court’s error in ordering the forfeiture of Sanders’s non-
                     contraband files was plain.

               An error is “plain” within the meaning of Fed. R. Crim. Pro 52(b) as long as

        it was plain at the time of appellate review. See Henderson v. United States, 568

        U.S. 266, 273-75 (2013). The rule covers three factual scenarios, where “(1) trial

        court decisions [] were plainly correct at the time when the judge made the decision

        [but later ruled infirm by a subsequent binding authority] [], (2) trial court decisions

        that were plainly [incorrect] at the time when the [trial] judge made the decision,

        [and] [] (3) cases in the middle—i.e., where the law at the time of the trial judge’s

        decision was neither clearly correct nor incorrect, but unsettled[.]” Id., at 274.

               As such, for a defendant to prevail on appeal, he must show that the settled

        law of the Supreme Court or this Circuit establishes the lower court’s error. See

        United States v. Brack, 651 F.3d 388, 392 (4th Cir. 2011). Settled Supreme Court

        and Fourth Circuit law required the district court to engage in an Eighth Amendment

        proportionality review when ordering the forfeiture of property, and failure to do so

        is plain error.

               In Austin v. United States, 509 U.S. 602 (1993), the government sought in rem

        civil forfeiture of supposed “guilty property”—namely, a mobile home and an

        autobody shop—which was used during various drug offenses. Id. at 604-05. The

        government attempted to categorize the entire class of in rem civil forfeitures as

        remedial rather than punitive, and therefore exempt from the Eighth Amendment’s

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        Excessive Fines scrutiny. Id. at 606-607. In rejecting the government’s argument,

        the Supreme Court explained that because the forfeiture “constitute[d] payment to a

        sovereign as punishment for some offense,[]…[it] is subject to the limitations of the

        Eighth Amendment’s Excessive Fines Clause.” Id. at 622. Importantly, the Court

        further held that “[t]he Excessive Fines Clause limits the government’s power to

        extract payments, whether in cash or in kind, as punishment for some offense.” Id.

        at 609-10 (emphasis added).

              In Alexander v. United States, 509 U.S. 544 (1993), the jury convicted the

        defendant of RICO violations for trafficking in obscenity and the government sought

        forfeiture of numerous assets including the “proceeds [he] obtained from his

        racketeering offenses.” Id. at 547, 548. In upholding the district court’s forfeiture

        order, the Eighth Circuit held that the Eighth Amendment does not require any

        proportionality review of a sentence less than life imprisonment without the

        possibility of parole. Id. 558. Rejecting that blanket rationale, the Supreme Court

        concluded that the forfeiture was “clearly a form of monetary punishment no

        different, for Eighth Amendment purposes, from a traditional ‘fine,’” and so subject

        to analysis under the Excessive Fines Clause. Id. at 558-59.

              In United States v. Bajakajian, 524 U.S. 321 (1998) the defendant failed to

        report $357,144 that he attempted to carry out of the country in violation of federal

        law. Id. at 325. The government sought forfeiture of the entire $357,144 as part of


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        Bajakajian’s criminal sentence. In affirming the lower courts’ rulings, forfeiting

        only a small portion of what the government sought, the Supreme Court held that

        the forfeiture of Bajakajian’s currency constitutes punishment and is thus a “fine”

        within the meaning of the Excessive Fines Clause, subject to the principles of

        proportionality. Id. at 334

              Finally, in United States v. Jalaram, Inc., 599 F.3d 347 (4th Cir. 2010), this

        Court rejected the government’s argument that the forfeiture at issue—an in

        personam criminal forfeiture of proceeds—by definition could never be punitive and

        therefore is never subject to examination under the Supreme Court’s proportionality

        analysis:

              In Austin, Alexander, and Bajakajian, every member of the Supreme
              Court agreed, over the Government’s objections, that the challenged
              forfeitures constituted punishment subject to proportionality analysis
              under the Excessive Fines Clause. In each case, the Government argued
              that forfeiture of a certain type of property—whether the civil forfeiture
              of guilty property in Austin, the criminal forfeiture of racketeering
              proceeds in Alexander, or the criminal forfeiture of instrumentalities in
              Bajakajian—merited a special exception from the Excessive Fines
              Clause. In each case, the Court rejected the Government’s view.

        Id. at 354.

              Firmly rooted Supreme Court and Fourth Circuit precedent make plain that

        the district court erred in failing to conduct the required proportionality

        determination in entering the preliminary order of forfeiture.




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                  2. The district court’s error affected Sanders’s substantial rights.

              To demonstrate that an error affected a defendant’s substantial rights, he must

        show a reasonable probability that, but for the error, the outcome of the proceeding

        would have been different. Molina-Martinez, 578 U.S. at 194. A reasonable

        probability is a probability sufficient to undermine confidence in the outcome.

        United States v. Marcus, 560 U.S. 258, 262 (2010); United States v. Olano, 507 U.S.

        725, 734–735 (1993) (to satisfy the third criterion of Rule 52(b), a defendant must

        “normally” demonstrate that the alleged error was not “harmless”); see also United

        States v. Dominguez Benitez, 542 U.S. 74, 83 (2004) (“defendant must thus satisfy

        the reviewing court, informed by the entire record, that the probability of a different

        result is ‘sufficient to undermine confidence in the outcome’ of the proceeding.”).

        Thus, on plain error review, a defendant must establish that the error was prejudicial,

        or more specifically, that it affected the outcome of the district court proceedings.

        Olano, 507 U.S. at 734; United States v. Hastings, 134 F.3d 235, 240 (4th Cir.1998).

              Here, the district court held that § 2253(a) “require[d] forfeiture of the

        electronic devices in their entirety[.]” JA231. Because this reading of the statute is

        incorrect, there is more than a reasonable probability that had the district court

        applied the Supreme Court’s proportionality test, it would have concluded that the

        forfeiture violated the Eighth Amendment’s Excessive Fines Clause.




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               Nowhere in the district court’s memorandum opinion does the court consider

        the personal nature of the files at issue apart from its passing reference blaming

        Sanders for his decision to commingle family photographs and business records with

        images of child pornography. JA233. Indeed, it appears that the district court

        mistakenly assumed that consideration of the nature of the property sought to be

        forfeited would amount to a purely equitable consideration, a concern it erroneously

        concluded was not permitted by United States v. Blackman, 746 F.3d 137 (4th Cir.

        2017), in cases involving forfeiture under 18 U.S.C. § 2553. JA231. Nor did the

        district court undertake a balancing of the relative harm caused in this case against

        the forfeiture of a lifetime of non-contraband personal files.

               Simply put, a correctly conducted forfeiture hearing would have led to a

        different result.

                  3. The failure to correct the district court’s error would seriously affect
                     the fairness, integrity or public reputation of judicial proceedings or
                     result in a miscarriage of justice.

               Because plain error review is discretionary, the Court will only exercise its

        discretion to recognize a plain error if the defendant shows that the error affecting

        his substantial rights also “seriously affect[s] the fairness, integrity or public

        reputation of judicial proceedings,” or results in a miscarriage of justice. United

        States v. Olano, 507 U.S. at 736, (quoting United States v. Young, 470 U.S. 1, 15

        (1985)); United States v. Simmons, 999 F.3d 199, 221 (4th Cir. 2021).



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              The files at issue chronicle “the privacies of [Sanders’] life[.]” Riley, 573 U.S.

        at 403. Many people store every aspect of their lives on electronic devices. Losing

        those devices can result in “the only record for years of a person’s life [being] lost

        in an instant.” United States v. Gladding, 775 F.3d 1149, 1150 (9th Cir. 2014). This

        is precisely what the district court accomplished by ordering the blanket forfeiture

        of Sanders’s electronic devices without engaging in the requisite constitutional

        analysis.

              Given the importance of protecting records of the nature protected in Riley,

        this Court should exercise its discretion to vacate Sanders’s preliminary order of

        forfeiture and order the files returned. Alternatively, the Court should vacate and

        remand the matter to the district court to conduct a proper Eighth Amendment

        inquiry. Failure to correct this error will result in both a miscarriage of justice and

        seriously affect the fairness of the judicial proceeding.

              E. Any inconvenience to the government is not relevant.

              “The law contains no ‘inconvenience exception’ to the proposition that seized

        property should be returned to its lawful owner in the absence of a continuing

        Government interest.” Wiebe v. Nat’l Sec. Agency, 2012 WL 4069746, at *8 (D. Md.

        Sept. 14, 2012). To the extent that the district court’s forfeiture order was based on

        its view of the unwarranted and substantial burden on government resources it




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        believed returning Sanders’s non-contraband files would have, JA232, this Court

        should dismiss those concerns as irrelevant.

              The district court accepted the prosecution’s assertions that it would be

        burdensome for the government to identify non-contraband files and either remove

        them from the hard drive or provide Sanders with copies, and “that the task of

        separating contraband from non-contraband files is more complicated than merely

        separating pornographic images from non-pornographic ones.” JA232. However,

        this Court in United States v. Blackman, 746 F.3d 137 (4th Cir. 2017), held that in

        the context of forfeiture proceedings, equitable considerations do not play a role in

        a court’s decision-making process. Id. at 143. More importantly, however, it stands

        to reason that the burden of returning property that cannot be legally forfeited should

        never be relevant to the underlying inquiry of whether the property is subject to

        forfeiture to begin with.

              Regardless, any actual burden on the government in returning copies of non-

        forfeitable property can be assuaged. Sanders offered to bear the costs of hiring a

        forensic expert to segregate and copy non-contraband files he seeks to have returned.

        Sanders further offered to compensate the FBI for the resources it would expend

        reviewing the files his expert selected in response to the district court’s concern that

        “an FBI technician would still be required to review the files and determine which

        were contraband and which were not contraband.” JA232.


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              In response, the government submitted a declaration by one of its agents that

        incorrectly described the “Griffeye” technology used by law enforcement to identify

        and categorize child pornography images. The declaration claimed that “Griffeye

        relies on “known hash sets” and that “uncategorized” images would still require a

        manual review by an FBI examiner. JA108. According to Griffeye’s own website,

        Griffeye relies on artificial intelligence, not known hash values, to classify images it

        believes depicts child abuse content. JA173. 13 The case agent also confirmed to the

        defense team during pretrial discovery sessions that Griffeye had processed the

        material on Sanders’s devices using artificial intelligence, and not based on known

        hash values. JA141.

              At bottom, Sanders asks no more of the government than what has already

        been done in his case and has been approved in at least one other case outside this

        Circuit. See, e.g., United States v. Gladding, 775 F.3d 1149, 1154 (9th Cir. 2014)

        (noting that “[t]he district court may also order alternative measures for returning

        Gladding’s noncontraband files other than forcing the government to pay for the

        segregating the data itself… For example, … require[ing] Gladding to pay the costs




        13
          Griffeye’s own website states: “[t]he AI scans through previously unseen footage
        and suggests images that it believes depicts child sexual abuse content. The AI
        outputs a score that can be used to tell whether a file is pertinent to the investigation
        or not.” JA174.

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        of segregation by having his expert review the electronic storage devices and copy

        the noncontraband files to the extent otherwise permitted by law.”).14

                                          CONCLUSION

              For the reasons stated, the preliminary order of forfeiture entered by the

        district court forfeiting Sanders’s legally possessed, non-contraband files should be

        vacated and the non-contraband files ordered returned.              Alternatively, the

        preliminary order of forfeiture should be vacated and the matter remanded for a new

        hearing in accordance with the requirements stated above.

                      STATEMENT REGARDING ORAL ARGUMENT

              Under Federal Rule of Appellate Procedure 34(a) and Fourth Circuit Rule

        34(a), Sanders respectfully requests that the Court hold oral argument in this appeal.

        In light of the number of issues that have been raised in the instant appeal, Sanders

        submits that oral argument would aid the Court in its decisional process.

                                                      Respectfully submitted,

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        14
          In Gladding, the government voluntarily provided the defendant with copies of
        some but not all of the files he requested. 775 F.3d at 1151.

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        1.    This brief complies with type-volume limits because, excluding the parts of
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        Dated: January 13, 2023                      /s/ Nina J. Ginsberg
                                                     Counsel for Appellant
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                         CERTIFICATE OF FILING AND SERVICE

              I hereby certify that on this 13th day of January, 2023, I caused this Brief of

        Appellant and Joint Appendix to be filed electronically with the Clerk of the Court

        using the CM/ECF System, which will send notice of such filing to the following

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              I further certify that on this 13th day of January, 2023, I caused a copy of the

        Sealed Volume of the Joint Appendix to be served, via FedEx, upon counsel for

        the Appellee, at the above address.

                                                     /s/ Nina J. Ginsberg
                                                     Counsel for Appellant
